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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                            §
                                                  § CASE NO. 17-45187-mxm
                                                  §
                                                  §
LEIO CORPORATION,                                 § CHAPTER 7
                                                  §
                                                  §
                                                  §
DEBTOR                                            §

NOTICE OF WITHDRAWAL OF LEAF CAPITAL FUNDING, LLC’S EMERGENCY
      MOTION FOR CONTEMPT AND FOR ORDER TO SHOW CAUSE


         NOW COMES Leaf Capital Funding, LLC, and hereby withdraws its Emergency Motion

for Contempt and for Order to show Cause [Doc. # 69] filed on April 11, 2018 in the above-

referenced case.



                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        The undersigned converted the foregoing document into an electronic image, via portable
document format (.pdf), electronically submitted same to the Internet web portal for the Clerk of this
Court utilizing the Electronic Management and Electronic Case Filing system of the Court, which has
caused service, via Simple Mail Transfer Protocol (e-mail), of a Notice of Electronic Filing of this
imaged document to all ECF participants participating in this case in addition to the below-identified
parties on Monday, May 7, 2018; said e-mail provides an attributable hyperlink to the document, in
portable document format, except for Debtor(s), and any other entity so identified below as receiving
notice by regular mail or on the EM/ECF filing sheet, whereas in that instance such document was
mailed via First Class United States Mail, to-wit:

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Solutions, LLC                               Counsel for Colonial Funding Network, Inc., as
                                             serving agent for Hunter Caroline Holding, LLC
All those receiving ECF notification in this
case.

                                               /s/ Christopher V. Arisco
                                               Christopher V. Arisco




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